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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
In Re:
GARY FRANCIS HOSTE                                            Case No.: 15-28607-JKO
                                                              Chapter 7
________________DEBTOR(S)__


                                    NOTICE OF TURNOVER
       COMES NOW, SONYA L. SALKIN, TRUSTEE, and hereby advises the Clerk that the
following items have been turned over to or recovered by the Trustee, as follows:
                APMEX 1 Kilo Bars- (30) thirty
                APMEX Bags of Coins- (7) Seven
                Sunshine Minting, Inc. 5 oz. Bars- (40) Forty
                APMEX 1 oz. Silver Bars- (150) One Hundred and Fifty


         These items secured and safe in a security deposit box at:
                               TD Bank
                               1800 N. Pine Island Road.
                               Plantation, FL 33322


Dated: February 24, 2016                                      By: Sonya L. Salkin, Trustee
                                                              Sonya L. Salkin, Trustee
                                                              P.O. Box 15580
                                                              Plantation, FL 33318
                                                              (954) 423-4469
